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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION

      ALLYSON ANDREWS,

            Plaintiff,
      v.
                                                                 CASE NO.:
      PROFESSIONAL CAREER DEVELOPMENT
      INSTITUTE LLC d/b/a ASHWORTH
      COLLEGE,

            Defendant.
                                                        /

                                                  COMPLAINT

           1.      Unwanted “Robocalls” are the #1 consumer complaint in America today.

           2.      The people complaining about harassing robocalls is increasing at an alarming rate.

  In 2015, 2,125,968 complained to the Federal Trade Commission (FTC) and Federal

  Communications Commission (FCC), in 2016 this number was 3,401,614 2016 and in 2017 it was

  4,501,967.1

           3.      Professional Career Development Institute LLC dba Ashworth College robocalled

  the Plaintiff a mindboggling 100 times.

           4.      Professional Career Development Institute LLC dba Ashworth College has a

  corporate policy to robocall people thousands of times.

           5.      “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

  modern civilization. They wake us up in the morning; they interrupt our dinner at night; they force

  the sick and elderly out of bed; they hound us until we want to rip the telephone out of the wall.’

  137 Cong. Rec. 30, 821 (1991).              Senator Hollings presumably intended to give telephone

  subscribers another option: telling the autodialers to simply stop calling.” Osorio v. State Farm



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   It is important to recognize these merely reflect the number of individuals that complained to these agencies; the
  number of people that have been victimized by illegal robocalling abuse could be close to 100,000,000 in the last 3
  years
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  Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014). Despite the penalties put in place over 26

  years ago, robocall abuse continues to skyrocket.

         6.      Plaintiff, Allyson Andrews, alleges Defendant, Professional Career Development

  Institute LLC dba Ashworth College, robocalled her more than 300 times in stark violation of the

  Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”), Invasion of Privacy

  (“IOP”), and Intentional Infliction of Emotional Distress (“IIED”).

         7.      Robocalls are very inexpensive to make. As was noted in a Senate hearing on the

  subject: “With such a cheap and scalable business model, bad actors can blast literally tens of

  millions of illegal robocalls over the course of a single day at less than 1 cent per minute.” Stopping

  Fraudulent Robocall Scams: Can More Be Done?: Hearing Before the Subcomm. on Consumer

  Prot., Prod. Safety, and Ins. of the S. Comm. on Commerce, Sci., and Transp., 113 Cong. 113-117

  (2013) (statement of Lois Greisman, Assoc. Director, Division of Marketing Practices, Bureau of

  Consumer Protection, Federal Trade Commission).

         8.      The TCPA was enacted to prevent companies like Ashworth College from invading

  American citizens’ privacy and prevent illegal robocalls.

         9.      Congress enacted the TCPA to prevent real harm. Congress found that "automated

  or pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call" and

  decided that "banning" such calls made without consent was "the only effective means of

  protecting telephone consumers from this nuisance and privacy invasion." Pub. L. No. 102-243,

  §§ 2(10-13) (Dec. 20, 1991), codified at 47 U.S.C. § 227; see also Mims v. Arrow Fin. Servs., LLC,

  132 S. Ct. 740, 744 (2012) (“The Act bans certain practices invasive of privacy”).

         10.     According to findings by the FCC—the agency Congress vested with authority to

  issue regulations implementing the TCPA—such calls are prohibited because, as Congress found,

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  automated or prerecorded telephone calls are a greater nuisance and invasion of privacy than live

  solicitation calls, and such calls can be costly and inconvenient. The FCC also recognized that

  wireless customers are charged for incoming calls whether they pay in advance or after the minutes

  are used.

                                  JURISDICTION AND VENUE

         11.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

  28 U.S.C. §1331.

         12.     Violations described in the Complaint occurred while Plaintiff was in or around

  Miami, Florida.

                                       FACTUAL ALLEGATIONS


         13.     Plaintiff is a natural person and citizen of the State of Michigan, residing in

  Farmington Hill, Michigan.

         14.     Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8) 15 U.S.C. §

  1692(a)(3).

         15.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

  1265 (11th Cir. 2014); Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

         16.     Defendant is a Limited Liability Company with its principal place of business in

  Norcross, Georgia, and conducts business in the State of Florida.

         17.     Plaintiff is the regular user and carrier of the cellular telephone number at issue,

  (313) 888-1444.

         18.     Plaintiff was the “called party” during each phone call subject to this lawsuit.




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           19.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

  calling several times during one day, and on back to back days, with such frequency as can

  reasonably be expected to harass.

           20.     Defendant did not have the “express consent” of the Defendant to call her cell

  phone.

           21.     “Express consent” is narrowly construed by the Courts.

           22.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an “automatic telephone dialing system” (ATDS).

           23.     It is the Defendant’s burden to prove they had “express consent” per the TCPA to

  call the Plaintiff on her cell phone using an ATDS.

           24.     Defendant was put on notice Plaintiff did not want the Defendant contacting her.

           25.     Defendant was told repeatedly to stop calling.2

           26.     Defendant did not have the express consent of the Plaintiff to call her cell phone.

           27.     Plaintiff expressly revoked any express consent Defendant may have mistakenly

  believed it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone

  number by the use of an ATDS or a pre-recorded or artificial voice.

           28.     Defendant made at least one call to (313) 888-1444.

           29.     Defendant made at least one call to (313) 888-1444 using an ATDS.

           30.     Defendant made at least ten (10) calls to (313) 888-1444.

           31.     Defendant made at least ten (10) calls to (313) 888-1444 using an ATDS.

           32.     Defendant made at least one hundred (100) calls to (313) 888-1444.



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   Defendant should have the call logs showing the exact number of calls and the recordings which should illustrate
  exactly what was said to the Defendant.
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          33.     Defendant made at least one hundred (100) calls to (313) 888-1444 using an ATDS.

          34.     Defendant made at least three hundred (300) calls to (313) 888-1444.

          35.     Defendant made at least three hundred (300) calls to (313) 888-1444 using an

  ATDS.

          36.     Defendant made at least three hundred fifty (350) calls to (313) 888-1444.

          37.     Defendant made at least three hundred fifty (350) calls to (313) 888-1444 usig an

  ATDS.

          38.     Each call the Defendant made to (313) 888-1444 in the last four years was made

  using an ATDS.

          39.     Each call the Defendant made to the Plaintiff’s cell phone was done so without the

  “express permission” of the Plaintiff.

          40.     Defendant has called other people’s cell phones without their express consent.

          41.     Each call the Defendant made to the Plaintiff was made using an ATDS, which has

  the capacity to store or produce telephone numbers to be called, without human intervention, using

  a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C §

  227(a)(1).

          42.     The calls at issue were placed by the Defendant using a “prerecorded voice,” as

  specified by the TCPA, 47 U.S.C. § 227(b)(1)(A).

          43.     Plaintiff repeatedly requested the Defendant to stop calling her cell phone, however,

  the Defendant continued to make calls.

          44.     Defendant has admitted to calling cell phones using an ATDS after that person

  asked for the calls to stop.



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         45.     Plaintiff’s conversations with the Defendant putting them on notice that they did

  not want more phone calls were ignored.

         46.     Defendant has recorded at least one conversation with the Plaintiff.

         47.     Defendant has recorded numerous conversations with the Plaintiff.

         48.     Defendant has made approximately three hundred (300) calls to Plaintiff’s

  aforementioned cellular telephone number since in or about July of 2018 which will be established

  exactly once Defendant turns over their dialer records.

         49.     Despite actual knowledge of their wrongdoing, the Defendant continued the

  campaign of abusive robocalls.

         50.     Defendant has been sued in federal court where the allegations include: calling an

  individual using an ATDS after the individual asked for the calls to stop.

         51.     By effectuating these unlawful phone calls, Defendants have caused Plaintiff the

  very harm that Congress sought to prevent—namely, a "nuisance and invasion of privacy."

         52.     Defendant’s aggravating and annoying phone calls trespassed upon and interfered

  with Plaintiff’s rights and interests in her cellular telephone and cellular telephone line, by

  intruding upon Plaintiff’s seclusion.

         53.     Defendant’s phone calls harmed Plaintiff by wasting her time.

         54.     Moreover, "wireless customers [like Plaintiff] are charged for incoming calls

  whether they pay in advance or after the minutes are used." In re: Rules Implementing the TCPA

  of 1991, 23 FCC Rcd 559, 562 (2007). Defendant’s phone calls harmed Plaintiff by depleting the

  battery life on her cellular telephone, and by using minutes allocated to Plaintiff by her cellular

  telephone service provider.



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           55.   Defendant’s corporate policy and procedures are structured as to continue to call

  individuals like the Plaintiff, despite these individuals revoking any consent the Defendant may

  have mistakenly believed it had.

           56.   Defendant’s corporate policy and procedures provided no means for the Plaintiff to

  have her aforementioned cellular number removed from the call list.

           57.   Defendant has a corporate policy of using an ATDS or a prerecorded or artificial

  voice message to collect debts from individuals such as Plaintiff for its financial benefit.

           58.   Plaintiff expressly revoked any consent Defendant may have mistakenly believed

  it had for placement of telephone calls to Plaintiff’s aforementioned cellular telephone by the use

  of an ATDS or a pre-recorded or artificial voice immediately upon Defendant’s placement of the

  calls. Making money while breaking the law is considered an incentive to continue violating the

  TCPA and other state and federal statutes.

           59.   Defendant never had the Plaintiff’s expressed consent for placement of telephone

  calls to her aforementioned cellular telephone by the use of an ATDS or a pre-recorded or artificial

  voice.

           60.   None of Defendant’s telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C. §227(b)(1)(A).

           61.   Defendant violated the TCPA and FCCPA with respect to the Plaintiff.

           62.   Defendant willfully or knowingly violated the TCPA with respect to the Plaintiff.

                                                  COUNT I
                                           (Violation of the TCPA)

           63.   Plaintiff incorporates Paragraphs one (1) through sixty-two (62).




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          64.      Defendant willfully violated the TCPA with respect to the Plaintiff each time they

  called the Plaintiff after she revoked her consent to be called by them using an ATDS or pre-

  recorded voice.

          65.      Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for

  each of the auto-dialed calls made to Plaintiff’s cellular telephone after Plaintiff revoked her

  consent to be called by them using an ATDS or pre-recorded voice.

          66.      Defendant, Professional Career Development Institute LLC dba Ashworth College,

  repeatedly placed non-emergency telephone calls to the wireless telephone number of Plaintiff

  using an automatic telephone dialing system or prerecorded or artificial voice without Plaintiff’s

  prior express consent in violation of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

          67.      As a result of Defendant’s illegal conduct, Plaintiff suffered actual damages and,

  under § 227(b)(3)(B), is entitled to, inter alia, a minimum of $500.00 in damages for each such

  violation of the TCPA.

          68.      Plaintiff is also entitled to, and does, seek injunctive relief prohibiting Defendant,

  Professional Career Development Institute LLC dba Ashworth College, from violating the TCPA

  in the future.

          WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant for statutory damages, punitive damages, actual damages and any

  other such relief the court may deem just and proper.

                                               COUNT II
                                       (Violation of the FCCPA)

          69.      Plaintiff incorporates incorporates Paragraphs one (1) through sixty-two (62).

          70.      At all times relevant to this action Defendant is subject to and must abide by the

  laws of Florida, including Florida Statute § 559.72.
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            71.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency as can reasonably be expected

  to harass her or her family.

            72.    Defendant has violated Florida Statute § 559.72(7) by willfully communicating

  with the debtor or any member of her family with such frequency even after Plaintiff told

  Defendant to stop calling. This frequency can reasonably be expected to harass the debtor or her

  family.

            73.    Defendant has violated Florida Statute § 559.72(9) by attempting to enforce a debt

  when Defendant knows that the debt is not legitimate or assert the existence of some legal right

  when Defendant knows that right does not exist.

            74.    Defendant’s actions have directly and proximately resulted in Plaintiff’s prior and

  continuous sustaining of damages as described by Florida Statute § 559.77.

            WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

  judgment against Defendant, Professional Career Development Institute LLC dba Ashworth

  College, for statutory damages, punitive damages, actual damages, costs, interest, attorney fees,

  enjoinder of future illegal conduct, and any other such relief the Court deems just and proper.

                                                 Respectfully submitted,

                                                 s/Geoffrey E. Parmer
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                                     Attorneys for Plaintiff




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